Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 1 of 10 Page ID #:176



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 8
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14 Attorneys for Plaintiff NATHANAEL PORRAS
15
16                         UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA
17
18   NATHANAEL PORRAS, on behalf of               Case No. 2:23-cv-05299-MDG
     himself and all others similarly situated,
19                                                Assigned to Hon. Dolly M. Gee
20                                                Courtroom 8C
                       Plaintiff,
21                                                STIPULATION TO ARBITRATE;
22           vs.                                  PROPOSED ORDER
23   FIVE BELOW, INC., a Pennsylvania             Complaint Filed: May 25, 2023 (Los
24   Corporation; and DOES 1 through 50,          Angeles Superior Court, Case No.
     inclusive;                                   23GDCV01090)
25
26                     Defendants.                Trial Date: None Set
27
28


                        STIPULATION TO ARBITRATE; PROPOSED ORDER
Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 2 of 10 Page ID #:177



 1         IT IS HEREBY STIPULATED by and between Plaintiff NATHANAEL
 2   PORRAS (“Plaintiff”) and Defendant FIVE BELOW, INC., (“Defendant”)
 3   (collectively “the Parties”), through their counsel of record, that Plaintiff’s individual
 4   claims currently pending in this action shall be submitted to binding individual
 5   arbitration pursuant to the Parties’ arbitration agreement (the “Agreement”). Attached
 6   hereto as Exhibit A is a true and correct copy of the Agreement, whereby Plaintiff and
 7   Defendant agreed to arbitrate the claims asserted by Plaintiff in the Complaint on an
 8   individual basis.
 9         IT IS HEREBY STIPULATED AND AGREED, by and between the Parties
10   hereto, through their counsel of record, as follows:
11         1.     This action entitled Nathanael Porras v. Five Below, Inc., Case No. 2:23-
12   cv-05229-MDG shall be immediately stayed and submitted to binding individual
13   arbitration pursuant to the Parties’ Agreement, the provisions of which are incorporated
14   herein by reference. See Exhibit A.
15         2.     This Court shall dismiss this matter, but retain jurisdiction to enforce this
16   stipulation to binding arbitration and the arbitration award rendered in the arbitration.
17
18         IT IS SO STIPULATED.
19
20    Dated: October 09, 2023                        MORGAN, LEWIS & BOCKIUS LLP
21
22                                                   By /s/Carrie A. Gonell
                                                        Carrie A. Gonell
23                                                      David J. Rashé
                                                        Joseph A. Govea
24                                                      Attorneys for Defendant
                                                        FIVE BELOW, INC.
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                                                2.
                            STIPULATION TO ARBITRATE; PROPOSED ORDER
Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 3 of 10 Page ID #:178



 1   Dated: October 09, 2023                HAIG B. KAZANDJIAN LAWYERS, APC.
 2
 3                                       By: ____________________________
 4                                               Haig B. Kazandjian, Esq.
                                                 Melissa Robinson, Esq.
 5                                               Attorneys for Plaintiff
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                                            3.
                          STIPULATION TO ARBITRATE; PROPOSED ORDER
           Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 4 of 10 Page ID #:179



                    1                               FILER’S ATTESTATION
                    2         I, Carrie A. Gonell, am the ECF user whose identification and password are
                    3   being used to file this Stipulation to Arbitrate. In compliance with Local Rule 5-
                    4   4.3.4(2), I hereby attest that HAIG B. KAZANDJIAN LAWYERS, APC has
                    5   concurred in this filing.
                    6    Dated: October 09, 2023                   MORGAN, LEWIS & BOCKIUS LLP
                    7
                    8                                              By /s/Carrie A. Gonell
                    9                                                 Carrie A. Gonell

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MORGAN, LEWIS &                               STIPULATION TO ARBITRATE; PROPOSED ORDER
 BOCKIUS LLP
 ATTORNEYS AT LAW
   LOS ANGELES
Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 5 of 10 Page ID #:180




                EXHIBIT “A”




                                                             Exhibit A - Page 1
 Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 6 of 10 Page ID #:181




                                  Mutual Arbitration Policy

In consideration of your application for employment and/or your continued employment with
Five Below, Inc. or one of its subsidiaries or affiliated entities (the “Company”), your receipt of the
compensation and other benefits paid to you (at the present and in the future), and the mutual
promises contained in this Policy, you and the Company (collectively "the parties") agree as
follows:

Any controversy, dispute or claim between You and the Company, or its current or former officers,
agents or employees, will be settled by binding arbitration, at the request of either party. This
Policy includes claims that the Company may have against you, or that you may have against the
Company. This Policy is a binding contract between you and the Company, but does not change
the at-will status of your employment.

BY BECOMING OR REMAINING EMPLOYED AFTER THE EFFECTIVE DATE OF THIS POLICY,
YOU AGREE TO THE POLICY’S TERMS AND AGREE TO BE BOUND BY THEM. THIS POLICY
IS A MANDATORY CONDITION OF BEING EMPLOYED OR CONSIDERED FOR
EMPLOYMENT WITH THE COMPANY.

You and the Company recognize that the Company operates in many states in interstate
commerce. Therefore, it is agreed that this Policy and any controversy, dispute or claim under this
Policy are governed by the Federal Arbitration Act (9 U.S.C. section 1 et seq.) (“FAA”). The
arbitrability of any controversy, dispute or claim under this Agreement will be determined by
application of the FAA and any applicable state arbitration statute not inconsistent with the FAA.
Arbitration will be the exclusive method for resolving any dispute covered by this Policy;
provided, however, that either party may request from a court of competent jurisdiction
provisional relief in aid of arbitration and/or to maintain the status quo.

The claims (“Claims”) which are to be arbitrated under this Agreement include, but are not limited
to, claims for wages and other compensation, claims for breach of contract (express or implied),
claims for violation of public policy, wrongful termination, tort claims, claims for unlawful
discrimination and/or harassment (including, but not limited to, race, religious creed, color,
national origin, ancestry, physical disability, mental disability, gender identity or expression,
medical condition, marital status, age, pregnancy, sex or sexual orientation), and claims for
violation of any federal, state, or other government law, statute regulation, or ordinance. As used
herein, “Claims” do not include claims related to the following: (1) claims for workers’
compensation insurance benefits; (2) claims for unemployment compensation insurance benefits;
(3) claims under the National Labor Relations Act; (4) claims under any employee benefit or
pension/retirement plan that either (a) specifies that its claim procedure shall culminate in an
arbitration procedure different from the one in this Policy, or (b) is underwritten by a commercial


                                                  1                            Exhibit A - Page 2
 Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 7 of 10 Page ID #:182




insurer which decides claims, as those plan claims shall be resolved in accordance with the claims
and/or dispute resolution mechanism/procedure set forth in the otherwise applicable plan
documents and not by way of arbitration under this Policy; and (5) any other dispute that is not
arbitrable as a matter of federal law.

This Policy shall be effective July 15, 2019, superseding any previous version of the Company’s
Arbitration Agreement. This Policy applies to all past, present, and future Claims between the
Company and you.

THE PARTIES AGREE THAT EACH MAY BRING AND PURSUE CLAIMS AGAINST THE
OTHER ONLY IN A NON-CLASS AND NON-COLLECTIVE BASIS, AND MAY NOT BRING.
PURSUE, OR ACT AS A PLAINTIFF OR CLASS MEMBER, IN ANY PURPORTED CLASS OR
COLLECTIVE PROCEEDING.

THE PARTIES FURTHER AGREE THAT NEITHER PARTY MAY BRING, PURSUE, OR ACT AS
A PLAINTIFF OR REPRESENTATIVE IN ANY PURPORTED REPRESENTATIVE PROCEEDING
OR ACTION, INCLUDING ANY CLAIMS BROUGHT AS A PRIVATE ATTORNEY GENERAL,
OR OTHERWISE PARTICIPATE IN ANY SUCH REPRESENTATIVE PROCEEDING OR ACTION
OTHER THAN ON A NON-REPRESENTATIVE BASIS.

BY ASSENTING TO THIS MUTUAL ARBITRATION POLICY, BY BECOMING OR
REMAINING EMPLOYED WITH THE COMPANY, THE PARTIES WAIVE THE RIGHT TO A
TRIAL BY A JUDGE OR JURY IN A COURT OF THE MATTERS COVERED BY THIS
AGREEMENT.

If any provision of this Policy is determined to be illegal or unenforceable, such determination
shall not affect the balance of this Policy, which shall remain in full force and effect and such
invalid provision shall be deemed severable. However, if, for any reason, the waiver of class
actions, collective actions, representative actions, and/or private attorney general actions is found
to be unenforceable or invalid, in whole or in part, then any such class, collective, representative,
or private attorney general action must be litigated and decided in a court of competent
jurisdiction and not in arbitration. To the extent permitted by law, if an action includes both claims
that are and claims that are not subject to arbitration, the claims that are not subject to arbitration
will be stayed until the claims subject to arbitration are resolved.

Any issue concerning the enforceability or validity of the class, collective, and representative action
waivers in this Policy must be decided by a court and not by an arbitrator. The arbitrator shall not
have the authority to conduct any arbitration on a class, collective, or representative basis. If an
arbitrator permits arbitration on class, collective, or representative basis, then the arbitrator’s
award allowing arbitration on a class, collective, or representative basis shall be immediately
reviewable by the court as an interim final award under the FAA.



                                                  2                            Exhibit A - Page 3
 Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 8 of 10 Page ID #:183




The Parties agree that any arbitration shall be conducted by one neutral arbitrator jointly selected
by the Parties. The Parties agree that any arbitration, including the arbitrator selection process,
shall be conducted under the JAMS Employment Arbitration Rules and Procedures (“JAMS
Rules”) then in effect, except as modified by this Policy. JAMS’ Employment Arbitration Rules &
Procedures can be found at http://www.jamsadr.com/rules-employment-arbitration/. Copies are
also available through the HR Department.

Any demand for arbitration must be in writing and must be made by the aggrieved party within
the statute of limitations period provided under applicable state and/or federal law for the
particular claim. Failure to make a written demand within the applicable statutory period
constitutes a waiver to raise that claim in any forum. Arbitration proceedings will be held in the
county where You last performed services for the Company.

The arbitrator will apply applicable state and/or federal substantive law to determine issues of
liability and damages regarding all claims to be arbitrated. The parties will be entitled to conduct
reasonable discovery and the arbitrator will have the authority to determine what constitutes
reasonable discovery. The arbitrator will hear and decide motions to dismiss, motions for
summary judgment, motions for partial summary judgment, or any other motion provided for in
the Federal Rules of Civil Procedure and the applicable JAMS employment dispute resolution
rules. The arbitrator is authorized to award any remedy or relief that would have been available to
the Parties, in their individual capacity, had the matter been heard in court. The arbitrator has the
authority to provide for the award of attorneys' fees and costs to the prevailing party if such award
is authorized or required by applicable law.

The arbitrator will issue a written opinion and award which will be signed and dated. The
arbitrator’s award will decide all issues submitted by the parties, and the arbitrator may not decide
any issue not submitted. The arbitrator will prepare in writing and provide to the parties a
decision and award which includes the reasons upon which the decision is based. The arbitrator
will be permitted to award only those remedies in law or equity which are requested by the parties
and allowed by law. Confirmation and judgment upon the award rendered by the arbitrator may
be entered in any court having proper jurisdiction.

The cost of the arbitrator and other costs that are unique to arbitration that would not be incurred
by You in a court proceeding will be borne by the Company. The parties will each bear their own
costs and attorney’s fees in any arbitration proceeding, provided however, that the arbitrator will
have the authority to require either party to pay the costs and attorney’s fees of the other party,
when permitted under applicable law.

This Policy is mandatory and binding on all current and former employees and applicants for
employment, regardless of whether you sign or acknowledge this policy.



                                                 3                            Exhibit A - Page 4
      Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 9 of 10 Page ID #:184
DOCUMENT ACKNOWLEDGMENTS


Acknowledgments
Please click the links below to review and acknowledge the required documents. When you have reviewed each document, click the Acknowledge button at the
bottom of each page. When you have acknowledged all of the documents, click the Acknowledge button at the bottom of the screen to complete the survey.
       Asset Protection - Integrity Pledge (Acknowledged On August 17, 2018 12:12 PM CST)
       Attendance Policy (Acknowledged On August 17, 2018 12:13 PM CST)
       CALIFORNIA Handbook 2017 (Acknowledged On August 17, 2018 12:14 PM CST)
       CALIFORNIA-Arbitration Agreement     (Acknowledged On August 17, 2018 12:14 PM CST)
       CALIFORNIA-Arbitration Agreement Opt Out Form (Acknowledged On August 17, 2018 12:14 PM CST)
       Code of Business Conduct and Ethics (Acknowledged On August 17, 2018 12:15 PM CST)
       Critical Controls (Acknowledged On August 17, 2018 12:15 PM CST)
       Dealing with the Press (Acknowledged On August 17, 2018 12:15 PM CST)
       Distribution Critical Controls (Acknowledged On August 17, 2018 12:15 PM CST)
       Employment Guidelines (Acknowledged On August 17, 2018 12:15 PM CST)
       Freight Best Practices (Acknowledged On August 17, 2018 12:16 PM CST)
       Insider Trading Policy (Acknowledged On August 17, 2018 12:16 PM CST)
       Practicing Asset Protection   (Acknowledged On August 17, 2018 12:16 PM CST)
       Register Training (Acknowledged On August 17, 2018 12:17 PM CST)
       Seasonal Contract (Acknowledged On August 17, 2018 12:17 PM CST)
       Service Standards (Acknowledged On August 17, 2018 12:18 PM CST)
       Store Information Security Policies and Procedures (Acknowledged On August 17, 2018 12:18 PM CST)
       The High Fives of Customer Service (Acknowledged On August 17, 2018 12:19 PM CST)
       Use It or Lose It (Acknowledged On August 17, 2018 12:24 PM CST)
       Whistleblower Policy (Acknowledged On August 17, 2018 12:24 PM CST)
       Worker's Compensation Act (Acknowledged On August 17, 2018 12:24 PM CST)




                                                                                                                       Exhibit A - Page 5
      Case 2:23-cv-05299-DMG-AS Document 15 Filed 10/09/23 Page 10 of 10 Page ID #:185
Document Acknowledgments

Acknowledged August 17, 2018 12:24 PM CST by nathanael Porras, #526862.
Version 1.00 (May 30, 2016 02:50 PM CST).




                                                                          Exhibit A - Page 6
